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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AM ERICA,                                   )
                                                             )               8:11CR312
                          Plaintiff,                         )
                                                             )
        vs.                                                  )                 ORDER
                                                             )
JASON BRASCH,                                                )
DAVID BURBACH,                                               )
W ILLIAM W ILKINSON and                                      )
TERESA REILLY,                                               )
                                                             )
                          Defendants.                        )



        This m atter is before the court on the m otions for an extension of tim e by defendants David Burbach

(Burbach) (Filing No. 37), and Teresa Reilly (Reilly) (Filing No. 38). The defendants seek until Decem ber 14,

2011, in which to file pretrial m otions in accordance with the progression order.         Defendants' counsel

represent that Burbach and Reilly will file affidavits wherein they consent to the m otion and acknowledge they

understand the additional tim e m ay be excludable tim e for the purposes of the Speedy Trial Act. Defendants'

counsel represent that governm ent's counsel has no objection to the m otion. Upon consideration, the m otions

will be granted.



        IT IS ORDERED:

        Defendants Burbach's and Reilly's m otions for an extension of tim e (Filing Nos. 37 and 38) are

granted. Burbach and Reilly are given until on or before Decem ber 14, 2011, in which to file pretrial m otions

pursuant to the progression order. The ends of justice have been served by granting such m otions and

outweigh the interests of the public and the defendants in a speedy trial. The additional tim e arising as a

result of the granting of the m otion, i.e., the time betw een November 21, 2011, and December 14, 2011,

shall be deem ed excludable tim e in any com putation of tim e under the requirem ent of the Speedy Trial Act

for the reason defendants' counsel require additional tim e to adequately prepare the case, taking into

consideration due diligence of counsel, and the novelty and com plexity of this case. The failure to grant

additional tim e m ight result in a m iscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

        DATED this 21st day of Novem ber, 2011.

                                                             BY THE COURT:


                                                             s/Thom as D. Thalken
                                                             United States Magistrate Judge
